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                                                                   *
                            Exhibit 1




       *
         Because the Pooling and Service Agreement spans 690 pages, Plaintiff has included only
the cover page and cited portions as an exhibit. Plaintiff will provide the Court with a copy of the
full agreement on request.
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EXECUTION VERSION




                                      MORGAN STANLEY CAPITAL I INC.
                                               as Depositor,

                               BANK OF AMERICA, NATIONAL ASSOCIATION,
                                           as Master Servicer,

                                       MIDLAND LOAN SERVICES,
                           A DIVISION OF PNC BANK, NATIONAL ASSOCIATION,
                                           as Special Servicer,

                                              SITUS HOLDINGS, LLC,
                                                  as Trust Advisor,

                                       U.S. BANK NATIONAL ASSOCIATION,
                  as Trustee, Certificate Administrator, Certificate Registrar and Authenticating Agent

                              WELLS FARGO BANK, NATIONAL ASSOCIATION,
                                            as Custodian

                                   POOLING AND SERVICING AGREEMENT

                                                Dated as of July 1, 2012

                       COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES
                                       SERIES 2012-C5




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taken under such Environmental Insurance Policy to achieve the payment of all amounts
thereunder to which the Trust is entitled if the Special Servicer has actual knowledge of any
event giving rise to a claim under such Environmental Insurance Policy and (ii) if the Special
Servicer has actual knowledge of such an event with respect to such Mortgage Loan, the Special
Servicer shall take reasonable actions as are in accordance with the Servicing Standard and the
terms and conditions of the related Environmental Insurance Policy to make a claim thereunder
and achieve the payment of all amounts to which the Trust is entitled thereunder. Any legal fees
or other out-of-pocket costs incurred in accordance with the Servicing Standard in connection
with any such claim shall be paid by, and reimbursable to, the Master Servicer (of if applicable,
the Special Servicer) as a Servicing Advance. All extraordinary expenses (but not ordinary and
routine or anticipated expenses) incurred by the Special Servicer in fulfilling its obligations
under this Section 9.1(f) shall be paid by the Trust.

               Section 9.2 Fidelity Bond and Errors and Omissions Insurance Policy of
Special Servicer. The Special Servicer, at its expense, shall maintain in effect a Servicer
Fidelity Bond and a Servicer Errors and Omissions Insurance Policy. The Servicer Errors and
Omissions Insurance Policy and Servicer Fidelity Bond shall be issued by a Qualified Insurer
(unless the Special Servicer self-insures as provided below) and be in form and amount
consistent with the Servicing Standard. If any such Servicer Errors and Omissions Insurance
Policy or Servicer Fidelity Bond ceases to be in effect, the Special Servicer shall obtain a
comparable replacement policy or bond from an insurer or issuer meeting the requirements set
forth above as of the date of such replacement. So long as the long-term rating of the Special
Servicer is not less than two (2) rating categories (ignoring pluses or minuses) lower than the
highest rating of the Certificates, but not less than “A-” as rated by Fitch and “A3” as rated by
Moody’s, the Special Servicer may self-insure for the Servicer Fidelity Bond and the Servicer
Errors and Omissions Insurance Policy.

                  Section 9.3   Special Servicer General Powers and Duties.

                 (a)     Subject to the other terms and provisions of this Agreement (and, in the
case of any Non-Serviced Mortgage Loan, subject to the servicing of such Non-Serviced
Mortgage Loan by the applicable Non-Serviced Mortgage Loan Master Servicer and the
applicable Non-Serviced Mortgage Loan Special Servicer), including Section 10.3, the Special
Servicer is hereby authorized and empowered when the Special Servicer believes it appropriate
in accordance with the Servicing Standard, to take any and all the actions with respect to
Specially Serviced Mortgage Loans that the Master Servicer may perform as set forth in
Section 8.3(a), including (i) to execute and deliver, on behalf of itself or the Trust (or holder of a
B Note or Serviced Companion Loan, as applicable), any and all instruments of satisfaction or
cancellation, or of partial or full release or discharge and all other comparable instruments, with
respect to the Specially Serviced Mortgage Loans and with respect to the related REO Properties
and (ii) to effectuate foreclosure or other conversion of the ownership of any Mortgaged Property
securing a Mortgage Loan. The Trustee shall execute on the Closing Date a Power of Attorney
substantially in the form of Exhibit O-2 hereto and otherwise reasonably acceptable to the
Trustee and Special Servicer and shall furnish the Special Servicer from time to time, upon a
written request from a Special Servicing Officer, with any additional powers of attorney of the
Trustee, substantially in the form of Exhibit O-2 with such additions as may be reasonably
necessary to empower the Special Servicer to take such actions as it determines to be reasonably

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necessary to comply with its servicing, administrative and management duties hereunder, and the
Trustee shall execute and deliver or cause to be executed and delivered such other documents as
a Special Servicing Officer may request in writing, that are necessary or appropriate to enable the
Special Servicer to service, administer and manage the Specially Serviced Mortgage Loans and
carry out its duties hereunder, in each case as the Special Servicer determines is in accordance
with the Servicing Standard and the terms of this Agreement; provided, that, the Special Servicer
shall not (i) take any action with the intent to cause and that actually causes the Trustee to be
registered to do business in any state; and (ii) without the Trustee’s prior written consent initiate
any action, suit or proceeding solely under the Trustee’s name without indicating the Special
Servicer’s representative capacity; provided, further, that the preceding clause (ii) shall not apply
to the initiation of actions relating to a Mortgage Loan that the Special Servicer is servicing
pursuant to its respective duties herein (in which case the Special Servicer shall give prompt
prior notice to the Trustee of the initiation of such action). Upon receipt of any such advice from
the Trustee, the Special Servicer shall take such action in the name of such Person or Persons, in
trust for the Trust (or holder of a B Note or Serviced Companion Loan, if applicable), as shall be
consistent with the Opinion of Counsel obtained by the Trustee. Such Person or Persons shall
acknowledge in writing that such action is being taken by the Special Servicer in the name of the
Trust (or holder of a B Note or the Serviced Companion Loan, if applicable). In the performance
of its duties hereunder, the Special Servicer shall be an independent contractor and shall not,
except in those instances where it is, after notice to the Trustee as provided above, taking action
in the name of the Trust (or holder of a B Note or the Serviced Companion Loan, if applicable),
be deemed to be the agent of the Trust (or holder of a B Note or the Serviced Companion Loan,
as applicable). The Special Servicer shall indemnify the Trustee for any loss, liability or
reasonable expense (including attorneys’ fees) incurred by the Trustee or any director, officer,
employee, agent or Controlling Person of it or its affiliates in connection with any negligent or
intentional misuse of the foregoing powers of attorney furnished to the Special Servicer by the
Trustee. Such indemnification shall survive the resignation or termination of the Special
Servicer hereunder, the resignation or termination of the Trustee and the termination of this
Agreement. The Special Servicer shall not have any responsibility or liability for any act or
omission of the Trustee, the Custodian, the Master Servicer or the Depositor that is not
attributable to the failure of the Special Servicer to perform its obligations hereunder. The
Special Servicer may conclusively rely on any advice of counsel rendered in a
Nondisqualification Opinion.

                (b)     In servicing and administering the Specially Serviced Mortgage Loans and
managing any related REO Properties, the Special Servicer shall employ procedures consistent
with the Servicing Standard. The Special Servicer shall inspect, or cause to be inspected: (i)
each Mortgaged Property relating to a Specially Serviced Mortgage Loan as soon as practicable
after the subject Mortgage Loan became a Specially Serviced Mortgage Loan and thereafter at
least every twelve (12) months until such Mortgage Loan ceases to be a Specially Serviced
Mortgage Loan; and (ii) each Mortgaged Property related to a Mortgage Loan that is delinquent
for sixty (60) days in the payment of any amounts due under such Mortgage Loan (provided that
if the related Mortgage Loan is not a Specially Serviced Mortgage Loan the Master Servicer
shall have given the Special Servicer notice of such delinquency). The Special Servicer shall
provide to the Master Servicer (who shall provide, solely as it relates to any A/B Whole Loan, to
the holder of the related B Note, and solely as it relates to any Loan Pair, to the holder of the
related Serviced Companion Loan), the Certificate Administrator, the 17g-5 Information

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Provider and, during any Subordinate Control Period and any Collective Consultation Period, the
Controlling Class Representative copies of the Inspection Reports relating to such inspections as
soon as practicable after the completion of any inspection. Any cost of any inspection performed
under this Section 9.3(b) shall be an expense of the Trust and shall be treated as a Servicing
Advance or as an Additional Trust Expense if such Servicing Advance would be a
Nonrecoverable Advance. Notwithstanding the foregoing, the Special Servicer shall not be
liable for its failure to prepare the reports required pursuant to this Section 9.3(b) with respect to
any Specially Serviced Mortgage Loan or REO Property if such failure is directly caused by the
Master Servicer’s failure to perform its obligations or provide information to the Special Servicer
as required by this Agreement.

               (c)     Pursuant to the related Intercreditor Agreement, each owner of a Serviced
Companion Loan has agreed that the Master Servicer and the Special Servicer are authorized and
obligated to service and administer such Serviced Companion Loan pursuant to this Agreement.

                (d)     Pursuant to the applicable Non-Serviced Mortgage Loan Intercreditor
Agreement, the owners of a Non-Serviced Mortgage Loan have agreed that such owner’s rights
in, to and under such Non-Serviced Mortgage Loan are subject to the servicing and all other
rights of the applicable Non-Serviced Mortgage Loan Master Servicer and the applicable Non-
Serviced Mortgage Loan Special Servicer and such Non-Serviced Mortgage Loan Master
Servicer and Non-Serviced Mortgage Loan Special Servicer are authorized and obligated to
service and administer such Non-Serviced Mortgage Loan pursuant to the related Non-Serviced
Mortgage Loan Pooling and Servicing Agreement. Notwithstanding anything herein to the
contrary, the parties hereto acknowledge and agree that the Special Servicer’s obligations and
responsibilities hereunder and the Special Servicer’s authority with respect to any Non-Serviced
Mortgage Loan are limited by and subject to the terms of the applicable Non-Serviced Mortgage
Loan Intercreditor Agreement and the rights of the applicable Non-Serviced Mortgage Loan
Master Servicer and the applicable Non-Serviced Mortgage Loan Special Servicer with respect
thereto under the related Non-Serviced Mortgage Loan Pooling and Servicing Agreement. The
Special Servicer shall take such actions as it shall deem reasonably necessary to facilitate the
servicing of any Non-Serviced Mortgage Loan by the applicable Non-Serviced Mortgage Loan
Master Servicer and the applicable Non-Serviced Mortgage Loan Special Servicer including, but
not limited to, delivering appropriate Requests for Release to the Trustee and Custodian (if any)
in order to deliver any portion of the related Mortgage File to the applicable Non-Serviced
Mortgage Loan Master Servicer or applicable Non-Serviced Mortgage Loan Special Servicer
under the related Non-Serviced Mortgage Loan Pooling and Servicing Agreement.

                 (e)    Notwithstanding anything to the contrary contained in this Agreement,
with respect to the Non-Serviced Mortgage Loans, (i) during any Subordinate Control Period and
any Collective Consultation Period, the Controlling Class Representative shall be entitled to the
rights of the “Non-Directing Holder” (or similar term) under the related Intercreditor Agreement
and (ii) at no time shall the Trust Advisor be entitled to the rights of the “Non-Directing Holder”
(or similar term) under the related Intercreditor Agreement.

               Section 9.4 Sub-Servicers. The Special Servicer shall have the right to use a
Sub-Servicer on the same terms and conditions as those set forth in Section 8.4 for a Sub-
Servicer of the Master Servicer, except as set forth in this Section 9.4. The Special Servicer shall

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